Case 2:20-cv-06864-ODW-AS Document 28 Filed 10/19/20 Page 1 of 2 Page ID #:1436




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 8                      United States District Court
 9                      Central District of California
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11   VIZIO, INC.                             Case № 2:20-cv-06864-ODW-AS
12                     Plaintiffs,
13         v.                                ORDER DENYING MOTION TO
14   NAVIGATORS INSURANCE                    DISMISS AS MOOT [18]
15   COMPANY et al.,
16                     Defendants.
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Case 2:20-cv-06864-ODW-AS Document 28 Filed 10/19/20 Page 2 of 2 Page ID #:1437




 1           Defendant Arch Insurance Company served Plaintiff Vizio, Inc. with a Federal
 2   Rule of Civil Procedure 12(b)(6) motion to dismiss in this case on September 25,
 3   2020.    (ECF No. 18.)     On October 16, 2020, Plaintiff filed a First Amended
 4   Complaint, twenty-one days after Arch Insurance filed its responsive pleading. (ECF
 5   No. 27.) Federal Rule of Civil Procedure 15(a)(1) allows Plaintiffs to file an amended
 6   complaint once as a matter of course within twenty-one days of service with a Rule
 7   12(b) motion. Therefore, Plaintiffs’ amended complaint was proper. As the pending
 8   motion to dismiss was based on a complaint that is no longer operative, the motion is
 9   DENIED as MOOT. See Ramirez v. Cty. of San Bernardino, 806 F.3d 1002, 1008
10   (9th Cir. 2015).
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12           IT IS SO ORDERED.
13           October 19, 2020
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15                                ____________________________________
16                                         OTIS D. WRIGHT, II
                                   UNITED STATES DISTRICT JUDGE
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